
679 N.W.2d 319 (2004)
470 Mich. 863
PEOPLE of the State of Michigan, Plaintiff-Appellee,
v.
Lester Scott BOON, Defendant-Appellant.
Docket No. 121118, COA No. 235539.
Supreme Court of Michigan.
May 7, 2004.
By order of December 18, 2002, the application for leave to appeal was held in abeyance pending the decision in People v. Perks, 467 Mich. 899, 654 N.W.2d 330 (Docket No. 120899) (2002). In an order issued July 31, 2003, 469 Mich. 864, 666 N.W.2d 267 (2003), this Court remanded Perks to the Court of Appeals for reconsideration. Following the Court of Appeals decision on remand, People v. Perks (On Remand), 259 Mich.App. 100, 672 N.W.2d 902 (2003), this Court denied leave to appeal. People v. Perks, 469 Mich. 1022, 676 N.W.2d 625 (2004).
On order of the Court, the application is again considered, and it is DENIED, because we are not persuaded that the question presented should be reviewed by this Court.
*320 CORRIGAN, C.J., dissents and states as follows:
I respectfully dissent from the order denying leave to appeal. I adhere to the views expressed in my previous concurring statement in People v. Perks, 469 Mich. 864, 666 N.W.2d 267 (2003).
